8:08-cr-00084-BCB-MDN   Doc # 75   Filed: 03/18/10   Page 1 of 1 - Page ID # 211



            IN THE UNITED STATES DISTRICT COURT FOR THE

                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:08CR84
                              )
          v.                  )
                              )
ALLEN W. JENSEN,              )                      ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

to set hearing on plaintiff’s request for departure (Filing No.

74).   Accordingly,

           IT IS ORDERED that a hearing on plaintiff’s Rule 35

motion (Filing No. 73) is scheduled for:

                Wednesday, March 31, 2010, at 2:30 p.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        Defendant need not be

present.

           DATED this 18th day of March, 2010.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
